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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT PENNSYLVANIA

JOSH TILLOTSON,                             )
                                            )
      Plaintiff,                            )
                                            )
      v.                                    )       Case No. 2:16-cv-06495-MSG
                                            )
DELANORE, KEMPER & ASSOCIATES,              )
LLC,                                        )
                                            )
      Defendant.                            )


                        NOTICE OF VOLUNTARY DISMISSAL

      Plaintiff, JOSH TILLOTSON, (“Plaintiff”), through his attorney, The Law Firm of Michael

Alan Siddons, Esq., pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), voluntarily

dismisses this case, with prejudice, against Defendant, DELANORE, KEMPER, &

ASSOCIATES, LLC.


                                   RESPECTFULLY SUBMITTED,


May 1, 2017                        By:_/s/Michael A. Siddons _____________________
                                          Michael A. Siddons
                                          Attorney #89018
                                          The Law Firm of Michael Alan Siddons, Esquire
                                          230 N. Monroe Street
                                          PO Box 403
                                          Media, PA 19063
                                          Tel: 484-614-6546
                                          msiddons@siddonslaw.com
                                          Attorney for Plaintiff




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                                CERTIFICATE OF SERVICE

On May 1, 2017, I electronically filed the Notice of Voluntary Dismissal with the Clerk of the U.S.
District Court, using the CM/ECF system, which will provide notice to all parties of record.

                                      By:_/s/Michael A. Siddons _____________________
                                             Michael A. Siddons




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